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The Honorable Richard J . Andrews
United States District Court

District of Delaware

J. Caleb Boggs Federal Building

844 N. King Street, Unit 9, Room 6325
Wilmington, DE 19801-3555

August 8, 2018

Re: InvestPic, LLC v. Algorithmics (US] Inc. (C.A. No. 10-cv-01028-RGA)
Dear Judge Andrews:

The parties provide this response to the Court’s Oral Order dated August 6, 2018 directing
them to file a status letter within 3 days of the Order.

Since the parties’ November l, 2017 status letter to the Court (D.I. 394), the following
activities have taken place:

1. Concurrent Federal Circuit Appeal.

The ’291 patent is currently the subject of Appeal No. 2017-2081 at the Federal Circuit. On
May 15, 2018, the Federal Circuit issued an Opinion and Judgment confirming the decision
by Judge Kinkeade of the Northern District of Texas that found the original claims of the
’291 patent invalid under 35 U.S.C. § 101. Ex. A.

On June 14, 2018, InvestPic filed a petition for panel rehearing or rehearing en banc. The
petition was granted in part and denied in part on August 2, 2018. See Exs. B and C. The
previous precedential opinion that issued on May 15, 2018 was withdrawn and replaced
with a modified precedential opinion, issued August 2, 2018, that again confirmed Judge
Kinkeade’s decision finding the original claims of the ’291 patent invalid under 35 U.S.C. §
101, but also further declared that the claims of the reexamination certificates, which had
issued during the original appeal briefing, were also invalid under section 101 . EX. D.

In sum, the Federal Circuit has now found that all of the patent claims asserted in InvestPic,
LLC v. Algorithmics (US) lnc., (C.A. No. 10-cv-01028-RGA) are invalid under Section 101,
which ruling may be subject to a further request for en banc review or filing a petition for
certiorari

Respectfully submitted,

/s/ Brian E. Farnan
Brian E. Farnan

cc: Counsel of Record (via E-Filing)

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